            Case 1:21-cv-02819-CAP Document 1 Filed 07/15/21 Page 1 of 15




                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

     CEDRIC ALEXANDER,                         :
                                               :    Civil Action File No.
           Plaintiff,                          :
                                               :
     vs.                                       :
                                               :
     UNIQUE TOWING &                           :
     RECOVERY, LLC, and                        :
     BASHAR “TONY” DIZA,                       :
                                               :
            Defendants.
                                     COMPLAINT

     Plaintiff Cedric Alexander (“Alexander”) brings this Complaint against
Defendants Unique Towing & Recovery, LLC (“UTR”) and Bashar “Tony” Diza
(“Diza”) and shows the Court as follows:
1.      INTRODUCTION
                                               1.
     This is a wage and hour case.
                                               2.
     Diza and UTR employed Alexander as a tow truck driver from on or about August

28, 2020 through the date of filing this action (hereinafter, “the Relevant Time
Period”). Although Alexander regularly worked more than forty hours each week,
Defendants failed to pay him an FLSA overtime premium for such overtime hours.




                                           1
            Case 1:21-cv-02819-CAP Document 1 Filed 07/15/21 Page 2 of 15




       (a) Jurisdiction and Venue

                                               3.

   This Court has subject matter jurisdiction over the present action under Article
III, § 2 of the United States Constitution, FLSA §16(b), 29 U.S.C. § 216(b) and 28
U. S.C § 1331, because this case arises under the FLSA, a federal statute that affects

interstate commerce.
                                               4.
   Venue properly lies in the Northern District of Georgia under 28 U.S.C. § 1391

because UTR is located in Atlanta, Georgia, within this judicial district and a
substantial portion of the events giving rise to the claims herein arose in this judicial
district.

       (b) The Parties

                                               5.
   Alexander resides in Clayton County, Georgia.
                                               6.
   UTR has employed Alexander as a tow truck driver in and around Atlanta,
Georgia from approximately August 28, 2020 through the date of filing this action.
                                               7.

   At all times during the Relevant Time Period, Alexander has been an “employee”
of UTR as FLSA § 3(e)(1), 29 U.S.C. § 203(e)(1), defines that term.




                                           2
        Case 1:21-cv-02819-CAP Document 1 Filed 07/15/21 Page 3 of 15




                                               8.
   UTR is a domestic limited liability company organized under the laws of the State

of Georgia.
                                               9.
   At all times material hereto, UTR has been an “employer” of Alexander as

defined in FLSA § 3(d), 29 U.S.C. §203(d).
                                               10.
   UTR is subject to the personal jurisdiction of this Court.

                                               11.
   UTR may be served with process through its registered agent, Nibras Admon, at
1557 Davis Avenue, Atlanta, Georgia 30344.

                                               12.
   At all times material hereto, Alexander has been an “employee” of Diza as FLSA
§ 3(e)(1), 29 U.S.C. § 203(e)(1) defines that term.
                                               13.
   Diza resides in Fulton County, Georgia.
                                               14.
   At all times material hereto, Diza was an “employer” of Alexander FLSA § 3(d),
29 U.S.C. § 203(d), defines that term.
                                               15.
   Diza is subject to the personal jurisdiction of this Court.




                                           3
        Case 1:21-cv-02819-CAP Document 1 Filed 07/15/21 Page 4 of 15




                                             16.
   Diza may be served with process at 320 Outwood Mill Court, 3M, Alpharetta,

Georgia 30022.

      (c) Individual Coverage

                                             17.
   Throughout the Relevant Time Period, Alexander operated a tow truck owned by

Defendants for the purpose of providing towing services for the operators and
owners of disabled or abandoned vehicles on Interstate and U.S. Highways, thereby
keeping the instrumentalities of interstate commerce free from obstructions.
                                             18.
   Throughout the Relevant Time Period, Alexander “engaged in commerce” as
employees of UTR as FLSA, § 6(a), 29 U.S.C. § 206 (a) and FLSA, § 7(a)(1), 29

U.S.C. § 207(a)(1) define that term.

      (d) Enterprise Coverage:

                                             19.
   Throughout the Relevant Time Period, UTR has been an “enterprise engaged in
commerce or in the production of goods for commerce” as FLSA, § 6(a), 29 U.S.C.
§ 206 (a) and FLSA, § 7(a)(1), 29 U.S.C. § 207(a)(1) define that term.

                                             20.
   Throughout the Relevant Time Period, UTR employed two or more persons who
regularly provided roadside services to customers on Interstate and U.S. highways,
thereby providing for the free flow of traffic on the national highway system.


                                         4
          Case 1:21-cv-02819-CAP Document 1 Filed 07/15/21 Page 5 of 15




                                              21.
   Throughout 2020, UTR had two or more “employees engaged in commerce” as

defined by 29 U.S.C. § 203(s)(1)(A).
                                              22.
   Throughout 2021, UTR had two or more “employees engaged in commerce” as

defined by 29 U.S.C. § 203(s)(1)(A).
                                              23.
   Throughout the Relevant Time Period, Alexander and other employees of UTR

handled goods which moved in interstate commerce in the furtherance of the
commercial purpose of UTR including trucks, gasoline, engine oil, and cellular
phones.

                                              24.
   Throughout 2020, UTR had two or more “employees handling, selling or
otherwise working on goods or materials that have been moved in or produced for
commerce by any person.” as defined in 29 U.S.C. § 203(s)(1)(A).
                                              25.
   Throughout 2021, UTR had two or more “employees handling, selling or
otherwise working on goods or materials that have been moved in or produced for
commerce by any person.” as defined in 29 U.S.C. § 203(s)(1)(A).
                                              26.
   Throughout 2020, UTR had an annual gross volume of sales made or business
done of not less than $500,000 (exclusive of excise taxes at the retail level that are
separately stated) within the meaning of 29 U.S.C. § 203(s)(1)(A).

                                          5
        Case 1:21-cv-02819-CAP Document 1 Filed 07/15/21 Page 6 of 15




                                              27.
   Throughout 2021, UTR had an annual gross volume of sales made or business

done of not less than $500,000 (exclusive of excise taxes at the retail level that are
separately stated) within the meaning of 29 U.S.C. § 203(s)(1)(A).
                                              28.

   Throughout Relevant Time Period, UTR has been an “enterprise engaged in
commerce or in the production of goods for commerce" as defined in FLSA § 3(s)(1),
29 U.S.C. § 203(s)(1).

      (e) Statutory Employer

                                              29.
   Throughout the Relevant Time Period, Diza has been an owner and/or operator
of UTR.

                                              30.
   Throughout the Relevant Time Period, Diza has exercised operational control
over Alexander’s work activities.
                                              31.
   Throughout the Relevant Time Period, Diza has been involved in the day-to-day
operation of the UTR.

                                              32.
   Throughout the Relevant Time Period, UTR has vested Diza with supervisory
authority over Alexander.




                                          6
        Case 1:21-cv-02819-CAP Document 1 Filed 07/15/21 Page 7 of 15




                                            33.
   Throughout the Relevant Time Period, Diza has exercised supervisory authority

over Alexander.
                                            34.
   Throughout the Relevant Time Period, Diza scheduled Alexander’s working

hours or supervised the scheduling of Alexander’s working hours.
                                            35.
   Throughout the Relevant Time Period, Diza has exercised authority and

supervision over Alexander’s compensation.

      (f) Lack of Exemption

                                            36.
   Throughout the Relevant Time Period, Alexander was not exempt from the

minimum wage requirements of the FLSA by reason of any exemption.
                                            37.
   Throughout the Relevant Time Period, Alexander was not exempt from the
maximum hour requirements of the FLSA by reason of any FLSA exemption.
                                            38.
   Throughout the Relevant Time Period, UTR did not employ Alexander in a bona

fide professional capacity within the meaning of 29 USC § 213 (a)(1).
                                            39.
   Throughout the Relevant Time Period, UTR did not employ Alexander in a bona

fide administrative capacity within the meaning of 29 USC § 213 (a)(1).


                                        7
          Case 1:21-cv-02819-CAP Document 1 Filed 07/15/21 Page 8 of 15




                                             40.
   Throughout the Relevant Time Period, UTR did not employ Alexander in a bona

fide executive capacity within the meaning of 29 USC § 213 (a)(1).
                                             41.
   Throughout the Relevant Time Period, Alexander did not supervise two or more

employees.
                                             42.
   Throughout the Relevant Time Period, UTR did not employ Alexander in the

capacity of an “outside salesman” so as to be exempt from the minimum and
maximum hour requirements of 29 USC § 213 (a)(1).
                                             43.

   Throughout the Relevant Time Period, Alexander was not exempt from the
maximum hour requirements of the FLSA because of the Motor Carrier Exemption
(29 U.S.C. § 213(b)(1)).
                                             44.
   Throughout the Relevant Time Period, Alexander’s work for Defendants did not
involve interstate commerce as defined by the Motor Carrier Act (49 U.S.C.A. §
10521).
                                             45.
   Throughout the Relevant Time Period, Alexander normally operated a flatbed
tow truck and/or wheel lift truck in his performance of work on behalf of Defendants.




                                         8
        Case 1:21-cv-02819-CAP Document 1 Filed 07/15/21 Page 9 of 15




                                                46.
   Throughout the Relevant Time Period, Alexander did not travel outside of the

State of Georgia in the performance of his duties for UTR.
                                                47.
   At all times material hereto, Alexander did not operate “commercial motor

vehicle[s]” within the meaning of the Motor Carrier Act (49 U.S.C.A. § 31132(1)).

      (g) Misclassification

                                                48.
   Throughout the Relevant Time Period, all of Alexander’s working efforts were
directed at serving Defendants’ customers.
                                                49.
   Throughout the Relevant Time Period, Defendants provided Alexander with all

tools, equipment and other materials necessary for Alexander to perform his job as
a tow truck driver, including the trucks.
                                                50.
   Throughout the Relevant Time Period, Defendants classified Alexander as an
independent contractor.
                                                51.

   Throughout the Relevant Time Period, Defendants misclassified Alexander as an
independent contractor.




                                            9
          Case 1:21-cv-02819-CAP Document 1 Filed 07/15/21 Page 10 of 15




                                               52.
   Defendants classified Alexander as an independent contractor in order to evade

payroll taxes and in order to evade the FLSA’s overtime premium requirement.

         (h) Additional Factual Allegations

                                               53.

   Throughout the Relevant Time Period, Defendants compensated Alexander on a

commission-only basis.
                                               54.
   Throughout the Relevant Time Period, Defendants generally scheduled
Alexander to work five (5) days during each work week.
                                               55.
   Throughout the Relevant Time Period, regularly scheduled Alexander to work

five shifts each week.
                                               56.
   Throughout the Relevant Time Period until June 27, 2021, Defendants scheduled
Alexander to work 12 hours, i.e., from 8:00 a.m. until 8:00 p.m., during each work
shift.
                                               57.

   Throughout the Relevant Time Period until June 27, 2021, Alexander often
worked in excess of 12 hours per shift.




                                          10
         Case 1:21-cv-02819-CAP Document 1 Filed 07/15/21 Page 11 of 15




                                             58.
   Since June 28, 2021, Defendants have scheduled Alexander to work 9 hours per

shift.
                                             59.
   Throughout the Relevant Time Period, Defendants have been aware of the actual

number of hours Alexander worked performing tow services.
                                             60.
   Defendants knew or should have known that the FLSA applied to Alexander.

                                             61.
   Defendants knew or should have known that Alexander was entitled to FLSA
overtime protections.

                                             62.
   Section 7 of the FLSA, 29 U.S.C. § 207, requires that Defendants compensate
Alexander at a rate of one–and–one–half times his regular rate for all time worked
in excess of forty (40) hours in a work week.
                                             63.
   Defendants knew or should have known that the Section 7 of the FLSA requires
that Defendants pay Alexander a premium for all hours worked above forty hours in
a workweek.
                                             64.
   29 C.F.R. § 778.118 sets forth the manner for calculating overtime wages to
employees who receive a portion of their earnings in commission each week.



                                        11
       Case 1:21-cv-02819-CAP Document 1 Filed 07/15/21 Page 12 of 15




                                              65.
   29 C.F.R. § 778.118 requires that the sum total of the commission earned and

other earnings be divided by the total hours worked in order to determine the regular
hourly rate.
                                              66.

   Throughout the Relevant Time Period, Defendants failed to calculate a regular
rate for Alexander by dividing the sum total of the commissions he earned and other
earnings by the total hours worked.

                                              67.
   29 C.F.R. § 778.118 further requires that “(t)he employee must be paid extra
compensation at one-half that rate for each hour worked in excess of” forty hours

per week.
                                              68.
   Throughout the Relevant Time Period, Alexander regularly worked more than
forty (40) hours during each workweek.
                                              69.
   Throughout the Relevant Time Period, Defendants failed to compensate
Alexander at one-half of his regular rate for each hour worked in excess of forty
hours in each week.
                                              70.
   Throughout the Relevant Time Period, Defendants willfully failed to compensate
Alexander at one-half of his regular rate for each hour worked in excess of forty
hours in each week.

                                         12
       Case 1:21-cv-02819-CAP Document 1 Filed 07/15/21 Page 13 of 15




                                               71.
   Throughout the Relevant Time Period, Defendants knew or should have known

that the Section 7 of the FLSA requires that Defendants compensate Alexander a
premium for all time worked in excess of forty hours in a given workweek.

                         COUNT 1 - FAILURE TO PAY OVERTIME

                                               72.
   The allegations in paragraphs 1-71 above are incorporated by reference.
                                               73.
   Throughout the Relevant Time Period, Alexander has been an employee covered
by the FLSA and entitled to the overtime protections set forth in FLSA § 7(a), 29

U.S.C. § 207(a).
                                               74.
   Throughout the Relevant Time Period, Alexander regularly worked in excess of
forty (40) hours during each work week.
                                               75.

   Throughout the Relevant Time Period, Defendants failed to pay Alexander at
one-and-one-half times his regular rate for time worked in excess of forty (40) hours
during each work week.
                                               76.
   Defendants willfully failed to pay Alexander at one–and–one–half times his
regular rate for work in excess of forty (40) hours in any week from July 2019
through April 2020.


                                          13
        Case 1:21-cv-02819-CAP Document 1 Filed 07/15/21 Page 14 of 15




                                               77.
   Alexander is entitled to payment of overtime in an amount to be determined at

trial, in accordance with FLSA § 16(b), 29 U.S.C. § 216(b).
                                               78.
   As a result of the underpayment of overtime compensation as alleged above,

Alexander is entitled to liquidated damages in accordance with FLSA § 16(b), 29
U.S.C. § 216(b).
                                               79.

   As a result of the underpayment of overtime compensation as alleged above,
Alexander is entitled to his litigation costs, including his reasonable attorneys’ fees
in accordance with FLSA § 16(b); 29 U.S.C. § 216(b).

   WHEREFORE, Alexander respectfully prays:
1. That his claims be tried before a jury;

2. That he be awarded due but unpaid overtime compensation in an amount to be

   determined at trial against Defendants, jointly and severally,
3. That he be awarded an additional like amount as liquidated damages against
   Defendants, jointly and severally;
4. That he be awarded his costs of litigation, including his reasonable attorneys' fees
   from Defendants, jointly and severally;
5. That he be awarded nominal damages; and

6. For such other and further relief as the Court deems just and proper.




                                          14
   Case 1:21-cv-02819-CAP Document 1 Filed 07/15/21 Page 15 of 15




  Respectfully submitted,

                                   DELONG CALDWELL BRIDGERS
                                   FITZPATRICK & BENJAMIN, LLC
101 MARIETTA STREET
SUITE 2650                         /S/ KEVIN D. FITZPATRICK, JR.
ATLANTA, GEORGIA 30303             KEVIN D. FITZPATRICK, JR.
(404) 979-3150                     GA. BAR NO. 262375
(404) 979-3170 (f)
charlesbridgers@dcbflegal.com      /S/CHARLES R. BRIDGERS
kevin.fitzpatrick@dcbflegal.com    CHARLES R. BRIDGERS
                                   GA. BAR NO. 080791




                                  15
